                            UNITED STATES DISTRICT COURT
                           EASTERN DISTRICT OF TENNESSEE
                                    AT KNOXVILLE

   UNITED STATES OF AMERICA                        )
                                                   )
   v.                                              )             No. 3:14-CR-138
                                                   )
   JENNIFER GUTRIDGE                               )

                              MEMORANDUM AND ORDER

          Now before the Court is the defendant’s counseled motion for compassionate

   release pursuant to 18 U.S.C. § 3582(c)(1)(A)(i). [Doc. 687]. The United States has

   responded in opposition. [Doc. 693]. For the reasons that follow, the defendant’s motion

   will be granted.

                                   I.     BACKGROUND

          In March 2016, the Honorable Thomas W. Phillips sentenced the defendant to a net

   term of 168 months’ imprisonment for methamphetamine and money laundering offenses.

   The defendant is presently housed at FMC Carswell with a scheduled release date of

   February 25, 2027. See Bureau of Prisons, https://www.bop.gov/inmateloc/ (last visited

   October 30, 2020).

          As noted, the defendant moves for immediate compassionate release pursuant to 18

   U.S.C. § 3582(c)(1)(A)(i), as amended by the First Step Act of 2018. In support, she cites

   the COVID-19 pandemic, a history of congestive heart failure, hypertension, and other

   health issues.




Case 3:14-cr-00138-RLJ-HBG Document 698 Filed 11/04/20 Page 1 of 10 PageID #: 4367
                                     II.    DISCUSSION

        Section 3582(c)(1)(A)(i) allows district courts to consider prisoner motions for

  sentence reduction upon a finding of “extraordinary and compelling reasons.” That statute,

  as amended by the First Step Act of 2018, provides in relevant part:

        [T]he court, upon motion of the Director of the Bureau of Prisons [“BOP”], or
        upon motion of the defendant after the defendant has fully exhausted all
        administrative rights to appeal a failure of the Bureau of Prisons to bring a
        motion on the defendant’s behalf or the lapse of 30 days from the receipt of
        such a request by the warden of the defendant’s facility, whichever is earlier,
        may reduce the term of imprisonment (and may impose a term of probation or
        supervised release with or without conditions that does not exceed the unserved
        portion of the original term of imprisonment), after considering the factors set
        forth in section 3553(a) to the extent that they are applicable, if it finds that—

            (i) extraordinary and compelling reasons warrant such a reduction ... and
            that such a reduction is consistent with applicable policy statements issued
            by the Sentencing Commission....

   18 U.S.C. § 3582(c)(1)(A). Prior to the First Step Act, a motion for compassionate release

   could only be brought by the BOP Director, not a defendant.               See 18 U.S.C. §

   3582(c)(1)(A) (2017). The First Step Act amended § 3582(c)(1)(A) to allow a defendant

   to file a motion for compassionate release after first asking the BOP to file such a motion

   on his behalf. See, e.g., United States v. Alam, 960 F.3d 831, 832 (6th Cir. 2020). Beyond

   this change, the statute still applies the same requirements to a defendant’s motion for

   compassionate release as previously applied to motions by the BOP Director. See, e.g.,

   United States v. Beck, 425 F. Supp. 3d 573, 578-79 (M.D.N.C. 2019).

        The United States Sentencing Commission has promulgated a policy statement

   regarding compassionate release under § 3582(c), which is found at U.S.S.G. § 1B1.13 and

   the accompanying application notes. See United States v. McGraw, No. 2:02-cr-00018-

                                               2

Case 3:14-cr-00138-RLJ-HBG Document 698 Filed 11/04/20 Page 2 of 10 PageID #: 4368
   LJM-CMM, 2019 WL 2059488, at *3 (S.D. Ind. May 9, 2019). While that particular policy

   statement has not yet been updated to reflect that defendants (and not just the BOP) may

   move for compassionate release, courts have universally turned to U.S.S.G. § 1B1.13 to

   provide guidance on the “extraordinary and compelling reasons” that may warrant a

   sentence reduction. Id. at *2 (citations omitted).

          As provided in § 1B1.13, consistent with the statutory directive in §

   3582(c)(1)(A)(i), the compassionate release analysis requires several findings. First, the

   Court must address whether “[e]xtraordinary and compelling reasons warrant the

   reduction” and whether the reduction is otherwise “consistent with this policy statement.”

   U.S.S.G. § 1B1.13(1)(A), (3). Second, the Court must determine whether a movant is “a

   danger to the safety of any other person or to the community, as provided in 18 U.S.C. §

   3142(g).” U.S.S.G. § 1B1.13(2). Finally, the Court must consider the § 3553(a) factors,

   “to the extent they are applicable.” U.S.S.G. § 1B1.13.

      A. Exhaustion

          In this case, the record demonstrates that the defendant has previously asked the

   BOP to file a compassionate relief request on her behalf. [Doc. 687, ex. 1]. More than 30

   days have passed since that request was received by the warden of her facility. [Id.]. The

   Court thus has authority under § 3582(c)(1)(A) to address the instant motion. See Alam,

   960 F.3d at 832.




                                                3

Case 3:14-cr-00138-RLJ-HBG Document 698 Filed 11/04/20 Page 3 of 10 PageID #: 4369
      B. Merits

                 1. Extraordinary and Compelling Reasons

          The Application Notes to guideline 1B1.13 provide, in material part:

          1. Extraordinary and Compelling Reasons.— ... [E]xtraordinary and
             compelling reasons exist under any of the circumstances set forth below:

          (A) Medical Condition of the Defendant.—

          (i)       The defendant is suffering from a terminal illness (i.e., a serious and
                    advanced illness with an end of life trajectory). A specific prognosis
                    of life expectancy (i.e., a probability of death within a specific time
                    period) is not required. Examples include metastatic solid-tumor
                    cancer, amyotrophic lateral sclerosis (ALS), end-stage organ disease,
                    and advanced dementia.

          (ii)      The defendant is—

                   (I)     suffering from a serious physical or medical condition,

                   (II)    suffering from a serious functional or cognitive impairment, or

                   (III)   experiencing deteriorating physical or mental health because of
                           the aging process,

          that substantially diminishes the ability of the defendant to provide self-care
          within the environment of a correctional facility and from which he or she is
          not expected to recover.

   U.S.S.G. § 1B1.13 cmt. n.1(A). The instant motion appears to be based on Application

   Note 1(A)(ii)(I), which requires a serious medical condition that substantially diminishes

   the ability to provide self-care within the prison environment and from which the movant

   is not expected to recover.

        The defendant has submitted Bureau of Prisons medical records confirming that she

   suffers from hypertension, diastolic dysfunction, and an abnormal enlargement of the heart.

   [Doc. 687, ex. 1]. The Presentence Investigation Report (“PSR”) in this case cites
                                                   4

Case 3:14-cr-00138-RLJ-HBG Document 698 Filed 11/04/20 Page 4 of 10 PageID #: 4370
   documentation that the defendant has conditions including hypertension and congestive

   heart failure. [Doc. 500, ¶ 72]. The original PSR also noted “a portable defibrillator that

   she must wear at all times.” [Doc. 451, ¶ 72]. The defendant has previously contracted

   COVID-19 while in BOP custody, and on August 5, 2020, was deemed to have recovered

   from that bout. [Doc. 693, ex. 1].

        Persons with certain heart conditions, such as heart failure, are presently considered

   to be at increased risk of severe illness from COVID-19, and persons with hypertension

   may be at increased risk.            See People with Certain Medical Conditions,

   https://www.cdc.gov/coronavirus/2019-ncov/need-extra-precautions/people-with-

   medical-conditions.html (last visited October 30, 2020).       In light of the defendant’s

   congestive heart failure, the United States concedes that her medical condition constitutes

   an extraordinary and compelling reason within the meaning of § 1B1.13. [Doc. 693, p. 8].

   On the record before it, the Court agrees.

             2. Danger to Any Other Person or to the Community

          Next, the Court must determine whether the defendant has shown that she would

   not be a danger if released. That is a close question in this case, but the Court ultimately

   concludes that the defendant has met her burden.

          Guideline 1B1.13 provides that compassionate release is only appropriate where

   “the defendant is not a danger to the safety of any other person or to the community, as

   provided in 18 U.S.C. § 3142(g)[.]” U.S.S.G. § 1B1.13(2). Section 3142(g) outlines the

   factors the Court must consider in determining whether a defendant should be detained

   pending trial. Specifically, § 3142(g) provides:

                                                5

Case 3:14-cr-00138-RLJ-HBG Document 698 Filed 11/04/20 Page 5 of 10 PageID #: 4371
         (g) Factors to be considered.—The judicial officer shall, in determining
         whether there are conditions of release that will reasonably assure the
         appearance of the person as required and the safety of any other person and
         the community, take into account the available information concerning—

         (1) the nature and circumstances of the offense charged, including whether
             the offense is a crime of violence, a violation of section 1591, a Federal
             crime of terrorism, or involves a minor victim or a controlled substance,
             firearm, explosive, or destructive device;

         (2) the weight of the evidence against the person;

         (3) the history and characteristics of the person, including—

               (A) the person’s character, physical and mental condition, family ties,
                   employment, financial resources, length of residence in the
                   community, community ties, past conduct, history relating to drug
                   or alcohol abuse, criminal history, and record concerning
                   appearance at court proceedings; and

               (B) whether, at the time of the current offense or arrest, the person was
                   on probation, on parole, or on other release pending trial,
                   sentencing, appeal, or completion of sentence for an offense under
                   Federal, State, or local law; and

         (4) the nature and seriousness of the danger to any person or the community
         that would be posed by the person’s release.

   18 U.S.C. § 3142(g).

         The Court has considered the above-listed factors and has familiarized itself with

   the defendant’s PSR. The Court has also reviewed the defendant’s BOP SENTRY Report.

         In the instant case, the defendant mailed a substantial quantity of methamphetamine

   into this district over a period of more than one year.           [Doc. 500, ¶¶ 17-19].

   Unquestionably, that crime caused serious harm to the public. There is no evidence that

   the defendant used violence.



                                               6

Case 3:14-cr-00138-RLJ-HBG Document 698 Filed 11/04/20 Page 6 of 10 PageID #: 4372
          The defendant’s criminal history, while sporadic, is also of concern. There are

   controlled substance convictions in 1993, 1999, and 2014, along with 2006 burglary. [Id.,

   ¶¶ 58-61]. There has been one probation violation, primarily relating to the offenses in this

   case. [Id., ¶ 61]. Additionally, the defendant used methamphetamine for decades. [Id., ¶

   74].

          Conversely, the defendant’s conduct while serving her current sentence has been

   commendable. There have been no disciplinary infractions. The defendant works as a

   suicide watch companion. She has participated in educational and vocational programming

   to complement her prior college-level coursework. [Id., ¶ 75].

          The defendant has submitted to the BOP a proposed release plan. At the Court’s

   request, the United States Probation Office has investigated that plan and has found it to

   be acceptable.

          Obviously, the Court’s primary concerns are the defendant’s extensive participation

   in the instant offenses, her prior controlled substance convictions, and her history of

   addiction. Of great note however, the BOP now deems the defendant a minimum security

   classification with a minimum risk of recidivism.

          The defendant’s conduct while serving her current term of imprisonment, combined

   with her medical conditions and acceptable release plan, persuades the Court that she would

   not pose a danger to the safety of any other person or the community if released. As

   recommended by the probation office, the Court will impose an additional special condition

   of supervision pertaining to residential reentry to further address its substance abuse

   concerns.

                                                7

Case 3:14-cr-00138-RLJ-HBG Document 698 Filed 11/04/20 Page 7 of 10 PageID #: 4373
           3. Section 3553(a) Factors

       Section 3553(a) provides:

        (a) Factors to be considered in imposing a sentence.—The court shall impose
            a sentence sufficient, but not greater than necessary, to comply with the
            purposes set forth in paragraph (2) of this subsection. The court, in
            determining the particular sentence to be imposed, shall consider—

        (1) the nature and circumstances of the offense and the history and
            characteristics of the defendant;

        (2) the need for the sentence imposed—

            (A) to reflect the seriousness of the offense, to promote respect for the
                law, and to provide just punishment for the offense;

            (B) to afford adequate deterrence to criminal conduct;

            (C) to protect the public from further crimes of the defendant; and

            (D) to provide the defendant with needed educational or vocational
                training, medical care, or other correctional treatment in the most
                effective manner;

        (3) the kinds of sentences available;

        (4) the kinds of sentence and the sentencing range established for—

            (A) the applicable category of offense committed by the applicable
                category of defendant as set forth in the guidelines [issued by the
                Sentencing Commission];

            ....

        (5) any pertinent policy statement guidelines [issued by the Sentencing
            Commission];

            ....

        (6) the need to avoid unwarranted sentence disparities among defendants
            with similar records who have been found guilty of similar conduct; and

        (7) the need to provide restitution to any victims of the offense.
                                                8

Case 3:14-cr-00138-RLJ-HBG Document 698 Filed 11/04/20 Page 8 of 10 PageID #: 4374
   18 U.S.C. § 3553(a).

          Having considered these factors, the Court concludes that the time served in this

   case constitutes a sentence sufficient, but not greater than necessary, to accomplish the

   goals of sentencing. Many of the pertinent § 3553(a) factors have already been discussed

   in the preceding section of this memorandum. As for the considerations of adequate

   deterrence and the avoidance of unwarranted sentence disparity, the Court notes that the

   defendant has—with consideration of good time credit—served more than half of her

   lengthy sentence. Her health is poor and her post-sentencing conduct has been good. A

   five-year term of supervised release remains in place and, as noted, additional special

   conditions of supervision will be imposed.

          The Court concludes that, in light of the defendant’s physical condition and her post-

   sentencing conduct, continued incarceration would not serve the goals of sentencing as set

   forth in the § 3553(a) factors. Because the Court finds that the defendant has shown

   extraordinary and compelling reasons for compassionate release, and that she does not pose

   a danger to the safety of any other person or the community, and that a reduction in sentence

   would be consistent with the § 3553(a) factors, the motion for sentence reduction pursuant

   to 18 U.S.C. § 3582(c)(1)(A)(i) will be granted.

                                      III. CONCLUSION

          For the reasons stated herein, the defendant’s motion for compassionate release

   pursuant to 18 U.S.C. § 3582(c)(1)(A)(i) [doc. 687] will be granted. While on supervised

   release, the defendant shall be subject to the following additional special conditions of

   supervision:

                                                9

Case 3:14-cr-00138-RLJ-HBG Document 698 Filed 11/04/20 Page 9 of 10 PageID #: 4375
      (1) You must reside at and participate in a Residential Reentry Center, a
          residential substance abuse treatment program, a 12-step based halfway
          house, a sober-living environment, or any combination thereof as approved
          and directed by the probation officer for up to 180 days, unless discharged
          earlier by the probation officer. You must follow all rules and
          regulations. You must contribute to programming costs in an amount
          determined by the probation officer.

      (2) You must not use or possess alcohol or alcoholic beverages.

       An order consistent with this opinion will be entered.

                                                      ENTER:



                                                               s/ Leon Jordan
                                                         United States District Judge




                                            10

Case 3:14-cr-00138-RLJ-HBG Document 698 Filed 11/04/20 Page 10 of 10 PageID #:
                                    4376
